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SOUTHEEN DISTRICT OF CATR EEINIA
BY [Be DEPUTY
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, Case No.: (ACK 393% -GPC

Plaintiff, INFORMATION

v.

AIDAN CURRY (1), Title 18, U.S.C., Sec. 1956(h) — Conspiracy
CONNOR BROOKE (2), to Launder Monetary Instruments; Title 18,

Defendants. U.S.C., Sec. 982(a)(1), and Title 28, U.S.C.,

Sec. 2461{c) — Criminal Forfeiture

 

 

The United States Attorney charges:

From on or about June 1, 2018 through on or about March 27, 2019, within the
Southern District of California and elsewhere, defendants AIDAN CURRY and CONNOR
BROOKE, did knowingly combine, conspire, and agree with each other and with other
persons known and unknown, to conduct financial transactions, knowing that the property
involved in the financial transactions represented the proceeds of some form of unlawful
activity, namely the operation of an unlicensed money transmitting business, which
constitutes a felony under federal law under Title 18, United States Code, Section 1960, and
knowing the transactions were designed in whole and in part to conceal and disguise the
nature, location, source, ownership, and control of the proceeds from the operation of an
unlicensed money transmitting business, in violation of Title 18, United States Code,
Section 1956(a)(1)(B)(i).

All in violation of Title 18, United States Code, Section 1956(h).

9/11/19

 

 

 
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FORFEITURE ALLEGATIONS

Upon conviction of the offense alleged in this Information, defendants AIDAN
CURRY and CONNOR BROOKE shall forfeit to the United States of America pursuant to
Title 18, United States Code, Section 982(a)(1) and Title 28, United States Code, Section

2461(c), any property, real or personal, involved in such offense, or any property traceable

to such property, including but not limited to:

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In the event that any of the property described above, as a result of any act or omission

of any defendant:

Approximately $40,250 in U.S. currency;

Approximately .0042 Bitcoin;

Approximately 27.99 Dash (DSH) Coins;

Approximately 47.4 Ethereum (ETH) Coins;

Approximately 6,508 Ripple (XRP) Coins;

2013 Chevrolet Camaro 2G1GE1E38D9127278

iPhone X IMEI 359408081955579;

iPhone 7 IMEI 3594670859909743;

iPhone 7 IMEI 353261071468095;

Acer tower; |

ASUS tower;

Apple MacBook pro CO2X10HTJGSH;

Lenovo Yoga Pro 2 laptop YB07772894;

Amazon tablet;

Various portable hard drives;

Various thumb drives, including but not limited to: KESU portable
120gb, Scandisk cruzer 64gb, Scandisk 16gb, Esterline connection
technologies, Sony 8gb, storage media, cool wallet storage, my digital
SSD 128gb; and |

Approximately $1,718 in U.S. currency.

 

 
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cannot be located upon the exercise of due diligence;
has been transferred or sold to, or deposited with, a third party;
has been placed beyond the jurisdiction of the court

has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided

without difficult,

The United States of America shall be entitled to forfeit substitute property up to the value

of the afore-described properties pursuant to Title 18, United States Code, Sections
982(a)(1) and Title 28, United States Code, Section 2461(c).

DATED: V2 | I“

ROBERT 8. BREWER, JR.
United States Attorney

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DANIEL C. SILVA
Assistant U.S. Attorney

 

 

 
